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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                   Magistrate No.____________________
                   v.

     EDWARD JACOB LANG
                                                   UNDER SEAL
                 Defendant.



     MOTION TO SEAL CRIMINAL COMPLAINT AND RELATED DOCUMENTS

       The United States respectfully moves this Court to seal the criminal complaint, affidavit

in support of the complaint, and arrest warrant in this case.

       Sealing is necessary to avoid notification of the existence of the arrest warrant which

could result in flight from prosecution, the destruction of or tampering with evidence, the

intimidation of potential witnesses, or jeopardize the safety of the arresting officers or otherwise

jeopardize the investigation. Another procedure will not adequately protect the needs of law

enforcement at this time.

       The United States requests that the criminal complaint, affidavit in support of the

complaint, and arrest warrant remain under seal until the arrest of the defendant, at which time

the criminal complaint and affidavit in support of the complaint may be treated as a matter of

public record.

       The United States further requests that: (1) a certified copy of the complaint be provided

to those law enforcement officials involved in the prosecution of the case; and (2) a copy of the

sealed arrest warrant be made available to agents of the Federal Bureau of Investigation and

other federal law enforcement officers for execution.
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                                        Sincerely,

                                        MICHAEL SHERWIN
                                        ACTING UNITED STATES ATTORNEY


Date: January 14, 2021
                                 By:   _______________________
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